       Case 3:08-cr-00004-JCH            Document 1384          Filed 02/26/15       Page 1 of 3




                   UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT
                               :
                               :      CRIMINAL CASE NO.
UNITED STATES OF AMERICA,      :      3:08-CR-00004-JCH-3
     Plaintiff,                :
                               :
     v.                        :
                               :
GENERO MARTE,                  :
     Defendant.                :      FEBRUARY 24, 2015
                               :


     RULING RE: MOTIONS FOR RECONSIDERATION (DOC. NOS. 1372, 1382)

        On November 4, 2014, the defendant, Genero Marte (“Marte”), filed a pro se

Motion Seeking Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (Doc. No.

1350). On December 17, 2014, the court entered an Order denying defendant’s Motion.

Order (Doc. No. 1368). On January 26, 2015, and February 17, 2015, the defendant

filed Motions for Reconsideration of the court’s December 17, 2014 Order.

Defendant’s Motion for Reconsideration Pursuant to Federal Rules of Civil Procedure –

Rule 60(b)(1) (“First Mot. to Reconsid.”) (Doc. No. 1372); Motion Pursuant to Rule 33 of

the Federal Rules of Criminal Procedure (“Second Mot.to Reconsid.”) (Doc. No. 1382).

        The standard for granting a motion for reconsideration is strict, 1 and such a

motion “will generally be denied unless the moving party can point to controlling

decisions or data that the court overlooked.” See Shrader v. CSX Transp., Inc., 70

F.3d 255, 257 (2d Cir.1995). A court should not grant a motion for reconsideration



        1
          Local Rule of Criminal Procedure 1(c) states that motions for reconsideration filed in criminal
cases are subject to the Local Rule of Civil Procedure governing motions for reconsideration. D. Conn. L.
Cr R. 1(c).




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      Case 3:08-cr-00004-JCH        Document 1384       Filed 02/26/15    Page 2 of 3




where the moving party seeks only to relitigate an issue already decided. See id. In

general, granting a motion for reconsideration is only justified if there is an intervening

change in controlling law, newly discovered evidence, or the need to correct clear error

or prevent manifest injustice. See Virgin Atl. Airways, Ltd. v. Nat'l. Mediation Bd., 956

F.2d 1245, 1255 (2d Cir.1992). That the court overlooked controlling law or material

facts may also entitle a party to succeed on a motion to reconsider. Eisemann v.

Greene, 204 F.3d 393, 395 n. 2 (2d Cir. 2000) (per curiam) (“To be entitled to

reargument, a party must demonstrate that the Court overlooked controlling decisions

or factual matters that were put before it on the underlying motion.”) (internal quotation

marks omitted).

       Marte argues that the court erred in concluding that he was ineligible for a

sentence reduction under 18 U.S.C. § 3482(c)(2) (“Amendment 782”). First Mot. to

Reconsid. at 3. Specifically, he argues that under Amendment 782, his amended

guideline imprisonment range should have been calculated as 151-181 months, based

on a total offense level is 34 and a criminal history category of I. Id. According to this

calculation, the guideline imprisonment range would be lower than his original sentence

of 204 months. However, Marte’s calculation is incorrect. In determining the

amended guideline range, the court must look to “the guideline range that corresponds

to the offense level and criminal history category determined . . . before consideration of

any departure provision in the Guidelines Manual or any variance.” U.S.S.G. § 1B1.10

comment n.1 (emphasis added). The total offense level found at Marte’s sentencing

prior to any departure or variance was 42. The court found that the relevant conduct

involved 5.6 kilograms of crack cocaine, resulting in a base offense level of 38 pursuant



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       Case 3:08-cr-00004-JCH            Document 1384          Filed 02/26/15       Page 3 of 3




to § 2D1.1, and found a four level organizer/leader enhancement pursuant to §

3B1.1(a). While the court then gave a downward variance based on a disparity

between crack and powder cocaine in the guidelines, this does not affect the calculation

of Marte’s amended range. 2

        Applying Amendment 782 results in an amended base offense level of 34

pursuant to § 2D1.1, 3 and a total offense level of 38 after application of the four level

organizer/leader enhancement. The guideline imprisonment range for offense level 38

and criminal history category I is 235-293 months. Since the low end of this range is

higher than the 204 month sentence Marte is currently serving, the court correctly found

that he was ineligible for a sentence reduction. See U.S.S.G. § 1B1.10 app. note 3

(Nov. 1, 2014).

        Thus, for the reasons set forth above, Marte’s Motions for Reconsideration (Doc.

No. 1372 and Doc. No. 1382) are DENIED.

        SO ORDERED.

        Dated this 24th day of February, 2015, at New Haven, Connecticut.


                                                  /s/ Janet C. Hall
                                                 Janet C. Hall
                                                 United States District Judge




        2
          In his Second Motion for Reconsideration, Marte now argues that the Sentencing Guidelines
violate due process and equal protection in that the court may not take downward departures into account
unless they were based on a defendant’s substantial assistance to authorities. Second Mot. to Reconsid.
at 4. This argument presents no “intervening change in controlling law, newly discovered evidence, or . . .
need to correct clear error or prevent manifest injustice,” Virgin Alt. Airways, 956 F.2d at 1255, and as
such does not provide a basis for the court to reconsider its prior Order.
        3
          A base offense level of 34 applies where the relevant conduct involves at least 2.8 kilograms but
less than 8.4 kilograms of cocaine base. USSG § 2D1.1(c)(3).



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